                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:10-00250
                                                  )      Judge Trauger
MATTHEW PAUL DEHART                               )

                                         ORDER

       It is hereby ORDERED that a status conference shall be held in this case on Monday,

December 17, 2012, at 2:30 p.m. The defendant’s presence is excused from this hearing.

       It is so ORDERED.

       ENTER this 11th day of December 2012.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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